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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

SANDRA HOFFMAN and ROY HOFFMAN,

Plaintiffs. 05-CV 3438 (LOW)(MLO)

-against- STIPULATION OF
DISCONTINUANCE

EQUINOX HOLDINGS, INC.,

Defendants.

WHEREAS it appears that the named defendant in this actian, EQUINOX
HOLDINGS, INC, .a foreign corporation, is not the proper defendant and that the proper
defendants Equinox Woodbury, Inc., a New York corporation that is a subsidiary of the
defendant EQUINOX HOLDINGS, INC. and;

WHEREAS there is no diversity of citizenship between the plaintiff and Equinox

Woodbury, Inc.,

. ITIS HEREBY STIPULATED AND AGREED, by and between the
undersigned, the attorneys of record for all parties to this action that this action be and hereby is
discontinued on the following conditions.

1- The plaintiff shall commence an action in Supreme Court, Nassau
County (hereinafter referred to as “Nassau County Action”) which make the same allegations
c. as were made against the defendant, EQUINOX HOLDINGS,

against Equinox Woodbury, In

INC. in this actiun

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2- The attorneys for the defendant EQUINOX HOLDINGS, INC. in this action
shall accept service of the summons and complaint and appear on behalf of Equinox Woodbury,
Inc. in the Nassau County Action and will admit that Equinox Woodbury, Inc. operated the
facility where the plaintiff was injured and owned the machine on which she was injured.

3. That all discovery conducted in connection with this action shall be deemed

discovery in connection with the Nassau County Action.

Dated: New York, New York
October 26, 2006

PRONER BAR RE jofssfy

Tobi R. Salottolo C30- Bas” )
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SO ORDERED

